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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                   HAMMOND DIVISION

 UNITED STATES OF AMERICA                      )
                                               )
                Plaintiff,                     )
                                               )       No. 2:06-CR-85 PS
 v.                                            )
                                               )
 ARTHUR J. SIMS and                            )
 DOROTHY F. DAVIS                              )
                                               )
                Defendants.                    )


                                     OPINION AND ORDER

        Defendant Dorothy F. Davis moves to suppress evidence that was seized during a search

 of her clothing. [DE 26.] Because the search was proper as it was incident to her lawful arrest,

 the motion to suppress the evidence is denied. Davis also moves to exclude statements made to

 police officers after her arrest because she was unable to read the waiver form and she was

 threatened into making certain incriminating statements. Davis has presented no evidence to

 support her claim. That motion therefore also is denied.

                                        I. BACKGROUND

        A confidential informant (CI) used by the Gary Police Department made three controlled

 purchases of heroin from co-defendant Arthus Sims at his residence in Gary, Indiana in March of

 2006. Based on these heroin purchases, Gary police officers obtained a search warrant for Sims’

 residence on March 24, 2006. Defendant Davis was not mentioned in the search warrant.

        In the afternoon of March 25, 2006, the CI made another controlled buy from Sims at his

 residence just prior to the execution of the warrant. During the surveillance set up for this

 purchase, Jelks saw Davis in front of Sims’ residence and saw her enter the home. Soon
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 thereafter, a Gary SWAT team entered Sims’ home, and Gary police officers executed the search

 warrant. The police recovered suspected heroin, over $6,000, a loaded Smith & Wesson

 handgun, additional matching ammunition, a dinner plate containing a razor blade, and a ziplock

 baggie containing more suspected heroin.

        Defendants Davis and Sims, along with three or four other individuals, were present at

 Sims’ home during the search. The SWAT team members, once they had entered the residence,

 did a cursory search (pat down) of these individuals in search of weapons, and then handcuffed

 them. This group was all located in the living room of the residence at the time. The police

 officers then took the individuals outside of the residence and placed them against the wall.

        A short time later, Davis told Officer Jelks that she needed to use the bathroom. After

 some minutes, Jelks walked her back into the residence. He conferred with Officer Smith, and

 they both accompanied Davis to the washroom. Smith checked the room for any weapons and

 even removed the handle from the toilet so that Davis could not flush any contraband down the

 toilet. Jelks meanwhile searched Davis. He found a coin bag and a pill box containing several

 packages of suspected heroin in Davis’ front jacket pockets. After using the restroom, Davis

 was taken back outside and then later transported to the station. The other individuals were

 permitted to leave at that time. A female officer at the station conducted a more thorough search

 of Davis, which revealed $360 in her pants pocket.

        At the station, Jelks and Smith questioned Davis. Jelks testified that he verbally went

 over the Miranda waiver form with Davis, and she placed her initials besides each Miranda right

 as he read the form to her. According to Jelks, Davis never mentioned that she couldn’t read or

 that she needed her glasses. After reviewing the form, Davis provided information regarding


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 Sims and her participation in his drug business. Jelks then memorialized the discussion into a

 written statement. He reviewed the statement with Davis. Jelks testified that he generally makes

 an intentional error in the written statement, which then is corrected by the suspect while they

 review the statement together. This shows that the suspect reviewed the statement. Jelks made

 such a mistake with Davis’ statement; he wrote that Davis knew that Sims had been selling

 heroin from his house for the past ten years. Davis corrected Jelks and stated that in fact it was

 for the past two years. Jelks denied mistreating or coercing Davis.

                                         II. DISCUSSION

 A.     Evidence Seized from Davis

        Davis seeks to suppress the evidence seized from her jacket on March 25, 2006. She

 argues that the evidence obtained by the government should be suppressed because the officers

 did not have probable cause to search her. In response, the government argues that the officers

 had probable cause to arrest her either for visiting a common nuisance or for aiding and abetting

 the trafficking of drugs. (Gov’t Resp. at 4.) The arrest consequently gave officers the right to

 search Davis. (Id.)

        The Fourth Amendment creates a presumption against warrantless searches. See United

 States v. Robinson, 414 U.S. 218, 224 (1973). However, a search done incident to a lawful arrest

 is an exception to the general rule. See Knowles v. Iowa, 525 U.S. 113, 116 (1998) (citing

 United States v. Robinson, 414 U.S. 218, 234 (1973)); United States v. Allman, 336 F.3d 555,

 556 (7th Cir. 2003) (listing exceptions to general rule that a search is unlawful without a search

 warrant). The arrest must be a valid one for the exception to apply. See United States v. Sawyer,

 224 F.3d 675, 678 (7th Cir. 2000) (A warrantless search of arrestee “is permissible [] only if the


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 arrest was legal.”).

           To have probable cause for an arrest, “law enforcement agents must reasonably believe,

 in light of the facts and circumstances within their knowledge at the time of the arrest, that the

 suspect had committed or was committing an offense.” United States v. Parra, 402 F.3d 752,

 763-64 (7th Cir. 2005), cert. denied, 126 S. Ct. 1181 (2006) (internal quotations and citation

 omitted). “[T]he totality of the circumstances, viewed in a common sense manner, [must]

 reveal[] a probability or substantial chance of criminal activity on the suspect’s part[.]” Id. at

 764 (internal quotations and citations omitted). Once a police officer has probable cause to

 arrest, the officer may search the individual’s body and clothing for contraband to preserve any

 evidence for trial, and such a search can be conducted without a warrant. See Knowles, 525 U.S.

 at 118; United States v. Jackson, 377 F.3d 715, 716 (7th Cir. 2004), cert. denied, 543 U.S. 1013

 (2004).

           In this case, the police officers had probable cause to arrest Davis for the Indiana

 misdemeanor of visiting a common nuisance. That crime is defined as follows under Indiana

 law:

                  A person who knowingly or intentionally visits a building
                  structure, vehicle, or other place that is used by any person to
                  unlawfully use a controlled substance commits visiting a common
                  nuisance, a Class B misdemeanor.

 Ind. Code 35-48-4-13(a). Under Indiana law, a law enforcement officer may arrest individuals

 committing misdemeanors if the officer has “probable cause to believe the person is committing

 or attempting to commit a misdemeanor in the officer’s presence . . . .” Ind. Code § 35-33-1-

 1(a)(4). See also Timmons v. Indiana, 734 N.E.2d 1084, 1086, 1087 (Ind. Ct. App. 2000), trans.

 denied, 741 N.E.2d 1259 (Ind. 2000) (noting that police officer may only arrest suspect of class

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 A and B misdemeanors (failure to stop after accident) if the misdemeanors were committed in

 the officer’s presence); Johnson v. Indiana, 829 N.E.2d 44, 48-49 (Ind. Ct. App. 2005), trans.

 denied, 841 N.E.2d 182 (Ind. 2005) (finding that officer acted reasonably in arresting defendant

 where officer observed defendant commit class C misdemeanor (illegal possession of alcohol by

 minor) in his presence).

        In this case, police officers found Davis at the residence of co-defendant Sims. Based on

 the video viewed during the hearing, it is apparent that Sims, just a brief time before the police

 entered his home, was handling drugs and providing them to customers. Furthermore, Jelks

 testified that he saw Davis enter Sims’ residence during the surveillance and shortly before the

 execution of the search warrant. When the officer entered the residence, Davis was present in

 the living room where drugs and drug paraphernalia were scattered throughout. Moreover, the

 officers had seen Davis enter the residence during their surveillance, which also showed Sims

 cutting heroin and providing it to his customers. All these facts provided probable cause that

 Davis was committing the crime of visiting a common nuisance.

        While it is true, as Davis argues, that the police did not actually observe anyone using

 drugs at the location, that is not the operative inquiry. The question is whether there was

 probable cause that the location was a common nuisance and that Davis was visiting it. As set

 out above, there was plenty of evidence of both. The Court therefore finds that the officers had

 the authority to arrest Davis and were thus permitted to conduct a search incident to that arrest.

 See United States v. Kincaid, 212 F.3d 1025, 1028 (7th Cir. 2000) (‘[T]here will be no Fourth

 Amendment violation in a search incident to arrest where the arresting officer is authorized by

 state or municipal law to effect a custodial arrest and the officer has probable cause to make such


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 arrest.”). Accordingly, Davis’ Motion to suppress the evidence obtained during the search is

 denied.

 B.        Davis’ Statements to Police Officers

           In her Motion to Suppress, Davis argues that the officers inadequately advised her of her

 Miranda rights and improperly coerced and threatened her into making a statement. (Def. Mot.

 at 1-2.) At the hearing, Davis did not present any evidence to support her claim. The

 government, on the other hand, presented the Miranda waiver form at the hearing. (Gov’t Ex. 4.)

 The government also presented testimony from Jelks and Smith that Davis understood the waiver

 form, properly initialed each Miranda right as it was read to her, and was not threatened. The

 Court therefore finds that Davis was properly advised of her rights both orally and in writing and

 that her statements were not the result of improper threats or coercion. Accordingly,

 Defendant’s Motion to suppress her statements is denied.

                                        III.   CONCLUSION

           Davis was properly searched pursuant to the “search incident to arrest” exception.

 Moreover, she has not provided any evidence to support the claim that her statements were

 unknowing or coerced. Accordingly, Defendant Davis’ Motion to Suppress [DE 26] is

 DENIED.

           SO ORDERED.

           ENTERED: November 20, 2006

                                                s/ Philip P. Simon
                                                PHILIP P. SIMON, JUDGE
                                                UNITED STATES DISTRICT COURT




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